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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

NICHOLAS JON THOMPSON,

                                 PLAINTIFF,

V.                                                            CASE NO.: 5:20-CV-1213 FJS/TWD

METRODATA SERVICES, INC.,

                        DEFENDANT.
____________________________________________


                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant, under Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss

this action with prejudice, resolving all matters in dispute having been made and each party to

bear their own fees and costs.



Dated: December 4, 2020                           Dated: December 4, 2020
       New York, New York                                Buffalo, New York


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 IT IS SO ORDERED.
 December 8, 2020
